 

Case 2:18-cr-00019-SRC-NPM Document16 Filed 02/15/48 Page 1 of 1 PagelD 51
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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT ;
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for the 5
Middle District of Florida Seer eral et RIDA

  

United States of America

 

v. ) =
) Case No. 2:18-cr- CO
) a
) q q
ALISON MARIE SHEPPARD, a/k/a _
"Aiisha Abdullah" 2: 16. ct-|71 -F tM 9 OY
- Defendant -
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) ALISON MARIE SHEPPARD, a/k/a "Aiisha Abdullah"
who is accused of an offense or violation based on the following document filed with the court:

@ Indictment 1 Superseding Indictment © Information O Superseding Information © Complaint
1 Probation Violation Petition © Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

Attempt to Provide Material Support and Resources to a Foreign Terrorist Organization, in violation of 18 U.S.C.
§ 2339B(a)(1) and § 2.

     

Date: 01/31/2018 $9 fee

Issuing officer's

 

 

City and state: _ Fort Myers, Florida _ELIZABETH WARREN, Clerk, et tates District Court

Printed name and title

 

Return

 

This warrant was received on (date) ft AS, sh 5 , and the person was arrested on (date) OY: 5, Ag —

at (city and state) Fr pr MAyens Fe

Date: O/ sli ¥ _ QQ

Arresting officer's signature

Chanter Biadeavan KAxr SA

Printed name and title

 

 

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